            IN THE DISTRICT COURT OF ANDERSON COUNTY, KANSAS
                         FOURTH JUDICIAL DISTRICT

In the Matter of the Marriage of:

JONATHAN DAVID LAWSON,
              Petitioner,                                   Case No. 2020-DM-000131
                                                            K.S.A. Chapter 23 & 60
v.

ANGELIINA LYNN LAWSON,
               Respondent.

                                 MOTION TO WITHDRAW

       COMES NOW attorney Ronald P. Wood and hereby moves to withdraw as counsel for

Angeliina Lynn Lawson, Respondent, in the above-captioned case. Attorney, Ronald P. Wood,

states in support that the Respondent, Angeliina Lynn Lawson, no longer desires his

representation.

       THEREFORE, based upon the above and foregoing, counsel for the Respondent

respectfully requests that this Court enter an Order allowing him to withdraw as attorney for the

Respondent.

                                             Respectfully submitted,



                                             /s/ RONALD P. WOOD
                                             Ronald P. Wood, #10089
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                                             Attorney for Respondent
                               CERTIFICATE OF SERVICE

        This is to certify that a copy of the above and foregoing Motion to Withdrawal was
delivered via email on the 23rd day of April 2025 to:

BreAnne Hendricks Poe
breanne@breannepoelaw.com
Attorney for Petitioner

Andrew Bolton
abolton@andrewboltonlaw.com
Guardian Ad Litem

Angeliina Lawson
angeliinalawson@gmail.com
Respondent



                                                    /s/ RONALD P. WOOD
                                                    Ronald P. Wood
